Case 2:05-cV-02122-.]P|\/|-de Document 15 Filed 07/26/05 Page 1 of 2 Page|D 25

 

IN THE UNITED sTATEs DIsTRlcT COURT m B"' "% D°c`
FoR THE WESTERN DISTRICT oF TENNESSEE .
WESTERN DIVIsIoN 05 JUL 25 PH 3' m
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VICKI PARSON, vth Gl “s;-;` ntsth
Plaintiff,
v. Case No. 05-2122-M1V

DAIMLERCHRYSLER COR.PORATION,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR AN EXTENSION
OF TIME TO RESPOND TO PLAINTIFF’S MOTION FOR LEAVE TO
AMEND COMPLAINT

 

Appearing to this Court that Defendant’s Motion for an Extension of Tirne is unopposed
and well taken, the Court exercising its discretion finds that good cause is shown to allow
Defendant an extension of time, up to and including August 15, 2005, in Which to file it’s
opposition to Plaintiff’ s Motion for Leave to Amend Complaint.

IT IS, THEREFORE, ORDERED that Defendant be granted up until August 15, 2005, in
which to tile its opposition to Plaintiff’s Motion for Leave to Amend Cornplaint.

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United States Distriet'ludge
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Dated: 95thng 3 6 _, 3005

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Notice of Distribution

This notice confirms a copy of the document docketed as number l5 in
case 2:05-CV-02122 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

